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UN|TED STATES D|STR|CT COURT
FOR THE D|STR|CT OF CONNECT|CUT

GRANT MACKAY COMPANY, |NC., : No: 3:12-cv-01794-SRU
|ntervenor, :

V.

ASNAT REALTY, LLC,
EVERGREEN POWER, LLC,
UR| KAUFMAN, and

|RA SCHWARTZ :
: MARCH , 2018
Counter-Defendants.

AFF|DAV|T OF |RA SCHWARTZ
|n support of the Objection to the Motion to Strike the Amended Answer filed on my
behalf, |, the undersigned, lra Schwartz, duly affirms and provides the following statements:
1. l am over the age of eighteen years and understand the obligation to provide truthful

information under oath and make these statements based upon personal knowledge.

2. | am a licensed attorney and member in good standing of the Michigan and District of

Co|umbia bars.

3. On or about May 5, 2005, l Was retained by Evergreen Power LLC ("Evergreen") to
provide legal advice to that company concerning certain matters relating to the use of
historic tax credits and financing of possible re-use scenarios of the property at 510 Grand

Avenue in New Haven, Connecticut (the "Site").

4. On or about December 29, 2005, l was retained by Asnat Realty LLC ("ASNAT") to
provide legal advice to that company concerning similar matters relating to the use of

historic tax credits and the financing of the possible re-use of the Site.

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5. To the best of my knowledge, l did not visit the Site for many years subsequent to
December 1, 2005. lt is my understanding that Evergreen Power, LLC and Asnat Realty,
LLC acquired their interests in the Site subsequent to December 1, 2005.

6. To the best of my knowledge, l did not visit the site nor did l travel into the State of
Connecticut during the period of time from inception when the negotiations to enter into a
contract with Grant MacKay began until such period of time when Grant MacKay

completed doing work on the site.

7. Evergreen Power, LLC and ASNAT Realty, LLC are not Connecticut corporations and

to the best of my knowledge do not have an office located in Connecticut.

8. To the best of my knowledge, l did not negotiate or draft any contracts or agreements
for Asnat or Evergreen concerning the acquisition, use or development of the Site or any

contracts related to Grant Mackay's activities on the Site.

9. l did not apply for any government permits or approvals on behalf of Asnat or

Evergreen regarding the Site.

10. l am not, and never have been, an employee, officer, director, manager, managing
member, member or shareholder of Asnat or Evergreen.
11. To the best of my knowledge, the members of Evergreen and Asnat are trusts. | am

not, and have never been, the beneficiary, grantor or trustee of such trusts.

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12. l do not have, and never have had, any ownership interest whatsoever in Asnat or

Evergreen.

13. To the best of my knowledge, l never authorized any attorney to appear on my behalf
or to consent to jurisdiction, but have recently been required to retain counsel to contest

jurisdiction in this matter with which l have no involvement.

14. To the best of my knowledge, l have never been a resident of the State of Connecticut.

15. |n connection with the above captioned case, l was never served with legal process

nor was l offered any opportunity to waive service of process.

16. l have lived in israel for the vast majority of the time since August 2004. The short
periods of time that l was in the USA, they were mostly to visit and care for my elderly

mother in Miami, Florida and or visit family in New York & New Jersey.

17. To the best of my knowledge, l have had no discussions or communications with
anyone at Grant Mackay or at any of their attorneys and or agent or contractors related to

the Site.

18. To the best of my knowledge, | have not retained or authorized any law firm to represent
me in this action, but upon information and belief, ASNAT Realty, LLC requested the Law
Oches of Keith R. Ainsworth, Esq., LLC and Jules A. Epsteinl P.C. for the first time in late

January 2018 to provide a defense for all defendants in this matter.

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19. l have not ever had any control over matters related to the Site involving environmental
control, remediation, storage of hazardous materials or waste or operations of any kind at

the Site.

20. To the best of my knowledge, l have no documents relating to any of the matters
alleged in the above captioned litigation and have no information which would shed light

on the nature of the activities alleged in the case.

21. There is no basis for Grant Mackay filing of the allegations against me, except to place
undue pressure on an individual in order to gain unfair advantage in this litigation.

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Datedthis Qo day of March, 2018.

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lra Schwartz

ACKNOWLEDGMENT
On this ZO`W\ day of March, 2018, before me personally appeared lra Schwartz,
proven to me through satisfactory evidence of identification to be the person who signed
the preceding or attached document in my presence, and who affirmed to me that the

contents of the docum e truthful and accurate to the best of his knowledge and belief.

    

Notary Public

 

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SANDRA DENN|
Notary Public State of N:w York
NO. 52-O1DE6111622
Qualified in Suffolk County
Commission Expires June 14, 2020

